        Case 1:17-cr-00010-DLH          Document 44        Filed 01/26/17      Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )      ORDER
                                               )
       vs.                                     )
                                               )
Nathaniel Preston Smith,                       )
                                               )      Case No. 1-17-cr-10
               Defendant.                      )


       The Defendant made his initial appearance in the above-captioned case in the District of

South Dakota on January 13, 2017. Following the hearing, the federal district court for the District

of South Dakota released the Defendant subject to various conditions. (Docket No. 36-3). This

court conducted the Defendant’s arraignment on January 26, 2017. The court ORDERS the

Defendant’s previous conditions of release be continued.

       IT IS SO ORDERED.

       Dated this 26th day of January, 2017.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court
